
USCA1 Opinion

	













        September 20, 1995      [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                           
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        No. 95-1209 

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                    GANIYU BARUWA,

                                Defendant, Appellant.


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                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND


                       [Hon. Mary M. Lisi, U.S. District Judge]
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                                        Before

                                Selya, Stahl and Lynch,
                                   Circuit Judges.
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            Mary June Ciresi on brief for appellant.
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            Sheldon  Whitehouse, United  States Attorney,  Margaret E.  Curran
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        and Charles A. Tamuleviz, Assistant United States Attorneys, on  brief
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        for appellee.


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                      Per Curiam.   Appellant  Baruwa was convicted  by a
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            Rhode Island federal jury  of eight counts of mail  fraud, in

            violation  of 18 U.S.C.   1341.  He challenges his conviction

            on two of the  counts, arguing that the mailings  relied upon

            by the Government in  support did not meet the  statute's "in

            furtherance of  the scheme"  requirement, and  therefore were

            insufficient to support  his conviction.  We disagree, and so

            affirm.

                      The evidence  at trial, unchallenged in  any way on

            appeal,  revealed  that  Baruwa  filed  eight  false personal

            injury   claims  against  various   insurance  companies  and

            businesses,  based on a claimed slip  and fall at each of the

            insured premises.   For  all  the claims,  the United  States

            mails  were  used  to   carry  claims-related  materials  and

            correspondence to or from Baruwa.  

                      The heart  of Baruwa's  argument on appeal  is that

            the  two letters  which form  the basis  of Counts  Seven and

            Eight1 of  the indictment were  not mailed in  furtherance of


                                
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            1.  The  letter in  support of  Count Seven  was from  Roy A.
            Prout,  Investigator for Constitution  State Service Company,
            the claims handler for Woolworth, Inc.  The letter stated, in
            essence, that  an investigation was ongoing  to determine the
            circumstances of the accident, and the extent and severity of
            injury.    It advised  Mr.  Baruwa that  his  cooperation was
            necessary,  and that  he  would need  to  provide a  recorded
            statement and documentation of injuries.
                 The letter in support of Count Eight was from Michael J.
            Stack, Special Investigator for  Liberty Mutual.  This letter
            identified  Mr.  Stack  as  the  claim's  investigator,   and
            requested Mr. Baruwa to contact him to discuss the claim.   

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            the scheme to  defraud, as  required by  statute, but  rather

            were sent to him  by investigators who regarded his  claim as

            questionable.    Each  investigator  testified,  as  to   his

            respective  letter,  that it  is sent  only  when a  claim is

            suspicious.  These letters,  so  the argument  runs, did  not

            further Baruwa's scheme because they were not sent as part of

            the  routine  processing of  his  claim, but  were  sent only

            because his claims were suspect. 

                      There are  two elements to the crime of mail fraud.

            "They  are  the  defendant's  participation in  a  scheme  to

            defraud and  the use of the mails, either by or caused by the

            [defendant], in furtherance of the  scheme."  U.S. v. Yefsky,
                                                          ____    ______

            994 F.2d 885, 891 (1st Cir. 1993).

                      For a  mailing to be considered  `in furtherance of

            the scheme,'  "the scheme's  completion or the  prevention of

            its  detection  must   have  depended  in  some  way  on  the

            mailings."   U.S. v.  Pacheco-Ortiz, 889  F.2d 301,  305 (1st
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            Cir. 1989), quoting U.S.  v. Silvano, 812 F.2d 754,  760 (1st
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            Cir. 1987)(internal quotation marks omitted.)  The use of the

            mails need not be  an essential element of the  scheme; "[i]t

            is sufficient for the mailing to be `incident to an essential

            part  of  the  scheme,' ...  or  `a  step  in the  plot....'"

            Schmuck  v.  U.S.,  489  U.S. 705,  710-11  (1989)  (citation
            _______      ____

            omitted.)  

                      The  relevant  question at  all  times is
                      whether  the  mailing   is  part  of  the


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                      execution of the  scheme as conceived  by
                      the perpetrator at  the time,  regardless
                      of  whether  the  mailing later,  through
                      hindsight,   may   prove  to   have  been
                      counterproductive and return to haunt the
                      perpetrator of the fraud.  The mail fraud
                      statute  includes  no guarantee  that the
                      use  of  the  mails  will be  risk  free.
                      Those  who  use  the  mails   to  defraud
                      succeed at their peril.  

            Id.  at 715.   Schmuck  involved  a scheme  whereby defendant
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            rolled  back  car odometers  and  resold  the resulting  low-

            mileage  cars to  retail dealers for  ultimate resale  to the

            public.  The dealers submitted title application forms to the

            state  on behalf of their  customers.  The  Court agreed that

            these submissions  satisfied the mailing element  of the mail

            fraud  offense,  observing  that  "once the  full  flavor  of

            Schmuck's scheme is appreciated," it became clear that "[t]he

            mailing of the title-registration forms was an essential step

            in the successful passage of title to the retail purchasers."

            Id. at 712, 714.              In U.S. v. Serino, 835 F.2d 924
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            (1st  Cir. 1987),  we upheld  defendant's conviction  on five

            counts  of mail fraud and  rejected the argument that certain

            mailings  between an  attorney and  the insurance  company he

            represented were not in furtherance of the scheme "but rather

            hindered it, because  they contained the  Insurance Company's

            attorney's  reservations about  the validity  of  the claim."

            Id.  at 928.   We noted  first that  we have  given a liberal
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            construction  to the language of the mail fraud statute.  Id.
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            In  answer   to  Serino's   specific  argument,  we   said:  


                      Our response  is that the focus  ought to
                      be  concerned  less   with  the   precise
                      contents of the particular  mailings than
                      with  the role  those mailings  played in
                      the execution  of the scheme  to defraud.
                      As long as the mailings  are sufficiently
                      related  to  the   scheme  so  that   the
                      execution of the scheme depended on those
                      mailings being sent, the proper  nexus is
                      established.

            Id. at 928-29.
            __

                      More recently, we upheld a mail fraud conviction in

            an insurance  context against the argument  that an insurer's

            letter,  acknowledging receipt of a claim for the theft of an

            automobile,  was not part of the  scheme to defraud.  We said

            that while the acknowledgement  letter itself did not involve

            any deception,  it "was `incidental' to  an essential element

            in the scheme, namely, the criss-cross of mailings that would

            reasonably  be expected  when false  claims are  submitted to

            insurance companies, are processed, and are ultimately  paid,

            thereby  making the  fraud successful."   U.S. v.  Morrow, 39
                                                      ____     ______

            F.3d  1228, 1237 (1st Cir.  1994), cert. den.,  115 S.Ct 1421
                                               ____  ___

            (1995);  see also U.S.  v. Contenti, 735  F.2d 628,  631 n. 2
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            (1st  Cir. 1984) (mailing is incident to an essential part of

            a  scheme where it is `"a normal concomitant of a transaction

            that is essential to the fraudulent scheme,'" quoting U.S. v.
                                                                  ____

            Lea, 618 F.2d 426, 431 (7th Cir. 1980)).
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                      Our cases, therefore,  reflect that even a  mailing

            which  expresses some doubt about the validity of a claim can

            satisfy the mail fraud statute if the mailing is sufficiently

            related to the scheme:  if execution of the scheme depends on

            the mailing being sent. Other Circuits have so held.  

                      In  U.S. v. Draiman, 784 F.2d  248 (7th Cir. 1986),
                          ____    _______

            defendant  challenged  the Government's  reliance  on letters

            from  the  insurance  company's  attorney   to  his  business

            attorney indicating  that the  proofs of loss  and supporting

            documentation   were   not    sufficient,   and    requesting

            clarification.     "Draiman   argues  that   these   mailings

            conflicted with his scheme  rather than furthered it.   If in

            fact the letters did conflict rather than promote the scheme,

            they would not  qualify. ... The distinction  is that Draiman

            was continuing  to try to  collect, and these  letters helped

            give him another chance."  Id. at 253.  U.S.  v.  McClelland,
                                       __           ____      __________

            868 F.2d 704 (5th Cir. 1989) is instructive, too.  There, the

            indictment  was based in part  on a report  from an insurance

            adjuster  to the  insurance company's  claim department.   In

            addition to routine claims  information, the report reflected

            facts that would lead the claims department to suspect arson,

            and to focus suspicion  on the defendant.  The  Fifth Circuit

            upheld reliance on the report, finding that it:

                      was not for the sole purpose of defeating
                      [defendant's]  claim.  Most  of the facts
                      contained in [the]  report are  routinely
                      used by  insurers in making  decisions on


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                      whether  and  how  much  to   pay  on  an
                      insurance  claim.   Consequently,  [this]
                      interim  report was  a customary  step in
                      processing  an insurance claim.  The jury
                      was  entitled  to   conclude  that   this
                      mailing furthered [defendant's] scheme to
                      collect   on  his   fraudulent  insurance
                      claim.

            Id. at 708-09.   
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                      Baruwa's scheme was to claim he had suffered injury

            at different insured premises.  Appellant's Brief, p. 2.  His

            objective was to  collect proceeds from  the insurers of  the

            premises.  Id.  His claims set in motion a predictable flurry
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            of paper,  a "criss-cross of  mailings."   That the  mailings

            were sent as  a result of the  suspicions of the insurers  is

            not decisive here; it is obvious that mailings such as these,

            seeking information about Baruwa's claims and injuries,  were

            clearly  incidental, even  critical,  to the  success of  his

            scheme.    "Success of  his plan,  were  it to  result, would

            depend on  the sending and  receipt of precisely  those claim

            documents  and supporting  documentation  that  were in  fact

            sent...."  Serino, 835 F.2d at 929.  Accordingly, we conclude
                       ______

            that the letters  relied on  in support of  Counts Seven  and

            Eight  of  the  indictment  were sufficient  to  satisfy  the

            statute.  Baruwa's conviction is affirmed.
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